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                                                         EXHIBIT A


 Omnibus                                          Claim     Docket
                      Respondent                                                         Status1
Objection                                        Number     Number

            Inland US Management, LLC and        10024               The status hearing on this response is
            Inland Continental Property           9722               adjourned to December 17, 2013 at 2:00
    19      Management Corporation               10020       4106    p.m.


                                                                     The status hearing on this response is
                                                  2722               adjourned to December 17, 2013 at 2:00
    31      Glenn Cordell Duncan                  2725       4755    p.m.
                                                                     The status hearing on this response is
                                                                     adjourned to December 17, 2013 at 2:00
    31      Gary R. Lowe                          5144       4810    p.m.
                                                                     The status hearing on this response is
                                                                     adjourned to December 17, 2013 at 2:00
    31      Minnie B. Hatcher                     3548       4811    p.m.
                                                                     The status hearing on this response is
                                                                     adjourned to December 17, 2013 at 2:00
    31      Eisner, Roy                           3025       4821    p.m.
                                                                     The status hearing on this response is
                                                                     adjourned to December 17, 2013 at 2:00
    31      Brad C. King                          3634       4842    p.m.
                                                                     The status hearing on this response is
            Chase Bank USA, National                                 adjourned to December 17, 2013 at 2:00
    31      Association                           7065       4899    p.m.


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  For all status hearings on responses that are being adjourned, the respondent does not need to
appear at the October 24, 2013 hearing.
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 Omnibus                                          Claim       Docket
                      Respondent                                                         Status1
Objection                                        Number       Number
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   31       Antor Media Corporation               6347        4926     p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   31       Unical Enterprises, Inc.              6555        4975     p.m.


                                                                       The status hearing on this response is
                                                 11213                 adjourned to December 17, 2013 at 2:00
   37       City of Brighton, Michigan           13834        5065     p.m.
                                                                       The status hearing on this response is
                                                               5098    adjourned to December 17, 2013 at 2:00
   37       Alameda County Treasurer             13294        12443    p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   37       Los Angeles County                   13628        5113     p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   37       Monterey County                      14131        5113     p.m.

                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   60       Mark Stewart                          9295        6082     p.m.




                                                          2
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 Omnibus                                          Claim       Docket
                      Respondent                                                         Status1
Objection                                        Number       Number
                                                                       Before the Plan’s Effective Date, this
                                                                       matter was resolved in principle, subject
                                                                       to completion of settlement
                                                                       documentation. No such documentation was
                                                                       received before the Effective Date. The
                                                                       claimant is now deceased. The estate
                                                                       must be probated prior to anyone having
                                                                       authority to sign the settlement
                                                                       agreement. Accordingly, the status
                                                                       hearing on this response is adjourned to
   76       Lei, Yu-Liang                        13307        7584     December 17, 2013 at 2:00 p.m.


                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   79       Eisner, Joanne                        3852        8003     p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   79       Gibson, Thomas H.                     3995        8034     p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   79       Rollins, James                       14825        8054     p.m.
                                                                       The status hearing on this response is
                                                                       adjourned to December 17, 2013 at 2:00
   79       Tinsley, Clementine                   4272        8055     p.m.




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